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                     EXHIBIT A
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 8                 IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
 9                             FOR AND IN THE COUNTY OF LINCOLN
10
11    OHIO CASUALTY INSURANCE                                 No.
      CORPORATION, as Subrogee of IRIEN
12    JENNINGS DBA TOMFOOLERY PIZZA PUB                       COMPLAINT FOR DAMAGES
13                          Plaintiff,
14    V.

15    APPLE INC.;
16                         Defendant.
17
18
             COMES NOW the Plaintiff, OHIO CASUALTY INSURANCE CORPORATION, as
19
      Subrogee of IRIEN JENNINGS DBA TOMFOOLERY PIZZA PUB, by and through its
20
      undersigned counsel of record and alleges as follows:
21
                                         I. JURISDICTION AND VENUE
22
       1.1   That at all times herein mentioned. Plaintiff, OHIO CASUALTY INSURANCE
23
             CORPORATION, was, and now is a corporation duly organized and existing under the
24
             laws of the State of Washington, authorized to conduct business as a multiple line
25
             insurance business in the State of Washington. At all times herein mentioned IRIEN
26
             JENNINGS DBA TOMFOOLERY PIZZA PUB C'INSURED”) was the insured of
27
             Plaintiff under a policy of insurance issued to it by Plaintiff.
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                                            COMPL.-MNT FOR DANL\GES
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 I     1.2   That at all times herein mentioned, the INSURED business is located at 101 NW Main
 2           Street, City of Wilbur, County of Lincoln, State of Washington 99185.
 3     1.3   That at all times herein mentioned, Defendant, APPLE, INC. is a California Corporation
 4           located at 1 Apple Park Way, Cupertino, CA 95014-0642 doing business in Lincoln
 5           County, Washington.
 6     1.4   On information and belief, the damages occurred to INSURED, IRIEN JENNINGS
 7           DBA TOMFOOLERY PIZZA PUB, at its business at 101 NW Main Street, City of
 8           Wilbur, County of Lincoln, State of Washington 99185 (PROPERTY).
 9     1.5   That all acts and omissions of the defendant as herein complained of occurred in the City
10           of Wilbur, County of Lincoln, State of Washington.
11     1.6   That the present action and claim is based upon the provisions of Washington law.
12     1.7   That this court has full and proper personal jurisdiction over all of the parties hereto and
13           over the subject matter herein.
14     1.8   Venue is proper in Lincoln County Superior Court pursuant to RCW 4.12.020(3).
15                                              11. PARTIES
16    2.1    Plaintiff, OHIO CASUALTY INSURANCE CORPORATION, at all times herein
17           mentioned, insured IRIEN JENNINGS DBA TOMFOOLERY PIZZA PUB, under a
18           policy of insurance, which covered, among other things, the subject business, under the
19           terms of which Plaintiff insured against, among other risks, certain loss or damage by
20           reason of negligence to said property.
21    2.2    That at all times herein mentioned, the Insured, IRIEN JENNINGS DBA TOMFOOLERY
22           PIZZA PUB place of business is located at 101 NW Main Street, Wilbur, Washington
23           99185.
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                                                      CO.MPI.\IN1' lOH DA.\L\GKS    LAW OFFICES OF MARK DIETZLER
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                                                                                     1001 FOURTH AVENUE. SUITE 3300
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 I    2.3   That at all times herein mentioned, the Defendant, Apple Inc. place of business is located
 2          at One Apple Park WY, Cupertino, CA 95014. Its Registered Agent is CT Corporation
 3          System, 818 West Seventh Street, Suite 930, Los Angeles, CA 90017. Defendant,
 4          APPLE, INC., at all times herein mentioned, is the manufacturer of the 2007 Apple
 5          Mac Book Pro laptop computer, which was involved in the fire loss hereinafter alleged.
 6                 111. FACTUAL BACKGROUND TO CLAIM FOR NEGLIGENCE
 7 3.1      The case arises out of a business fire that occurred on August 27,2016, at the
 8          TOMFOOLERY PIZZA PUB located at 101 NW Main Street, Wilbur, Lincoln County,
 9          Washington 99185. The fire started in the lounge area of the restaurant.
10    3.2   On August 27,2016, insured, IRIEN JENNINGS DBA TOMFOOLERY PIZZA PUB
11          had been working on her Mac Book Pro laptop and had an update downloading.
12    3.3   Plaintiff is informed and believes and thereon alleges that the fire loss was the result of
13          a defective lithium battery for Insured’s Mac Book Pro laptop computer.
14    3.4   Plaintiff is informed and believes and thereon alleges that the fire originated with the
15          overheating of the lithium battery in the Mac Book Pro laptop computer, that the
16          Insured, Irien Jennings was using in the lounge area of the Tomfoolery Pizza Pub.
17 3.5      Prior to August 27,2016, APPLE INC. manufactured the subject “PRODUCT”, Mac
18          Book Pro laptop computer, negligently manufactured, maintained, controlled, managed,
19          packaged with a defective lithium battery and/or entrusted an employee(s) to inspect for
20          inconsistencies, tears, missing parts, and final inspections prior to shipping out to their
21          sales avenues. In other words, APPLE INC. was negligent in following industry
22          standards when they installed, repaired, maintained, designed, manufactured, supplied,
23          retailed, packaged with a defective lithium battery assembled and/or modified the
24          PRODUCT.
25    3.6   Defendant, APPLE INC’s actions were negligent and below the standard of care
26          required by the laws of the State of Washington.
27    ///

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 1    3.7   Defendant, APPLE INC’s, actions were negligent in installing defective lithium
 2          batteries in their Products that is packaged with the PRODUCT.
                             IV. FACTUAL BACKGROUND TO CLAIM FOR
 3                                   STRICT PRODUCT LIABILITY
 4    4.1   That APPLE INC were at all times herein mentioned engaged in some aspect in the
 5          business of manufacturing, selling, marketing, repairing, assembling, customizing,
 6          installing, or providing to members of the general public, the PRODUCT or its
 7          component parts herein described as a Mac Book Pro laptop computer. The subject
 8          PRODUCT was manufactured, designed, assembled, repaired, retrofitted, marketed,
 9          packaged with a defective lithium battery and sold by the Defendant to be used in the
10          manner herein described.
11    4.2   The PRODUCT sold by the Defendant reached the foreseeable user and/or consumer
12          without substantial change in the condition in which it was at the time it was sold.
13 4.3      The subject PRODUCT sold by the Defendant was in a defective condition, and
14          unreasonably dangerous when it left the hands of the defendant and did not meet the
15          reasonable expectations of the ordinary consumer and user. Said defective condition
16          included, but is not limited to design and manufacturing defects in said PRODUCT
17          which caused substantial property damage to the IRIEN JENNINGS DBA
18          TOMFOOLERY PIZZA PUB’s Business property.
19 4.4      The subject PRODUCT was defectively designed, assembled, manufactured, tested and
20          certified. Defendant was aware of, or should have been aware of, the defects with a
21          lithium battery and/or deficiencies including, but not limited to, the defects in the
22          subject PRODUCT and/or its specifications. Plaintiff is informed and believes and
23          thereon alleges, that the Defendant failed to adequately warn owners and users of the
24          defects in a timely and reasonable manner.
25 4.5      The Defendant placed the PRODUCT into the channels or streams of commerce in a
26          defective condition and the Defendant is strictly liable to Plaintiff under RCW 7.72.030
27          and applicable statutes and case law for the damages set forth herein.
28                                                      4
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 1    4.6   On or about August 27, 2016 as a direct and proximate result of the aforementioned
 2          design and manufacturing defects in said PRODUCT and its component parts, the
 3          PRODUCT failed and caused fire damage to the PROPERTY.

 4                         V. FACTUAL BACKGROUND TO CLAIM FOR
 5                       BREACH OF IMPLIED AND EXPRESS WARRANTIES
      5.1   Prior to August 27, 2016, and prior to the time the PRODCT was being used by the
 6
            INSURED in the subject incident, the Defendant impliedly warranted to members of
 7
            the general public, including the INSURED, that the PRODUCT was of merchantable
 8
            quality and safe for use for which it was intended by the Defendant.
 9
      5.2   The PRODUCT was not safe for its intended use nor was it of merchantable quality as
10
11          impliedly warranted by the Defendant in that it was defectively designed, manufactured
            and marketed with a defective lithium battery that was thereby dangerously exposing
12
            the user of said PRODUCT and those around said user to serious injury.
13
      5.3   After the INSURED suffered the damages complained of herein as a result of said
14
            defective condition of the PRODUCT, Plaintiff is informed, believes and thereon
15
            alleges that notice was duly given by Plaintiff and other interested parties, presently
16
            unknown, to the Defendant, in the time, manner and form prescribed by law, of the
17
            aforesaid breach of said implied warranty.
18
      5.4   As a proximate result of the breach of said implied warranty INSURED sustained the
19
            damages described herein above.
20
      5.5   INSURED was a foreseeable user of the said PRODUCT and suffered serious damages
21
            while using said PRODUCT in the manner in which operators customarily and
22
            ordinarily used the PRODUCT and in the manner in which the PRODUCT was
23
            advertised, promoted, designed, .manufactured, warranted and intended to be used by
24
            Defendant.
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                                                  CO.MPI.UNT FOR DAALIGKS     LAW OFFICES OF MMK DIETZLER
                                                                                    ATTORNEYS AT lAW
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 1    5.6    Such retail sale for use by the public was accompanied separately, individually and
 2           respectively by the Defendant, express and implied warranties that the PRODUCT was
 3           designed for the uses to which INSURED put the PRODUCT, that the PRODUCT was
 4           merchantable, that the PRODUCT was free from defect in its design and manufacture,
 5           and that the PRODUCT would not harm the INSURED, if used as intended and
 6           expected by Defendant.
 7    5.7    However, the Defendant breached its respective warranties implied and expressed in
 8           the design, manufacture, and sale of the aforementioned PRODUCT in that the
 9           PRODUCT was not fit for the specific or ordinary purposes for which said PRODUCT
10           was designed and manufactured to be used. The manner in which the PRODUCT was
11           designed, manufactured, and sold was insufficient to withstand the normal and
12           specified use for which it was intended to be used by INSURED. A material component
13           of said breaches occurred when Defendant willfully failed in the design, manufacture,
14           and sale of said PRODUCT to affix proper safety devices that if correctly designed,
15           manufactured and installed would have prevented the damages to the INSURED and/or
16           Plaintiff.
17 5.8       INSURED discovered such breach of express and implied warranties on or about
18           August 27, 2016, when the aforementioned PRODUCT failed and caused damages to
19           the INSURED as described herein.
20 5.9       The aforementioned conduct of the Defendant directly and proximately caused the
21           resulting damages sustained by Plaintiff.
22    5.10   As a further direct and proximate result of the aforementioned, but not limited to, defects
23           in the subject PRODUCT, design and manufacturing defects in said PRODUCT which
24           caused damage to the property of the INSURED, for which Plaintiff paid for the damage to
25           said property. Plaintiff, under the terms of its policy, thereby became subrogated to all of
26           the rights of INSURED in the sum paid and Plaintiff thereby became entitled to enforce all
27           of the remedies of INSURED against the Defendant with respect to same sum.
28                                                       6
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 1                                    VI. PLAlNTIFF^S DAMAGES
 2    6.1    As a direct and proximate result of said Defendant, APPLE INC. negligence,
 3           INSURED’S Business Property sustained significant damage all of which will be
 4           proven at the time of Trial.
 5    6.2    As a proximate result of said negligence by the Defendant and of the resulting damages
 6           sustained by the INSURED, Plaintiff, under the terms of its policy, thereby became
 7           subrogated to all of the rights of INSURED in the sum paid and Plaintiff thereby became
 8           entitled to enforce all of the remedies of the INSURED against the Defendants with
 9           respect to same sum.
10                                     VII. DEMAND FOR RELIEF
11    7.1    WHEREFORE, Plaintiff prays for judgment against the Defendants for:
12           a.     For damages in such amounts as shall be proven at the time of trial;
13           b.     For costs and disbursements, including statutory and reasonable attorney fees;
14           c.     For post-judgment interest on the entire judgment until paid in full; and,
15           d.     For such other relief as the court deems just and proper.
16
17    DATED this 19‘*’ day of April, 2019.
                                             LAW OFFICES OF MARK DIETZLER
18
19
20
                                             Kevin F. Smith, WSBA#4S412
21                                           Attorney for Plaintiff, OHIO CASUALTY INSURANCE
                                             CORPORATION, as Subrogee of IRIEN JENNINGS
22                                           DBA TOMFOOLERY PIZZA PUB
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